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 5
     Attorneys for Lead Plaintiff Glen Littleton
 6   and Lead Counsel for the Class
 7
     [Additional counsel on signature blocks]
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10                                     UNITED STATES DISTRICT COURT

11                                  NORTHERN DISTRICT OF CALIFORNIA

12     IN RE TESLA, INC. SECURITIES                     No. C-18-04865
       LITIGATION
13                                                      Hon. Edward M. Chen
14                                                      DECLARATION OF ADAM M. APTON IN
15                                                      SUPPORT OF LEAD PLAINTIFF’S MOTION
                                                        FOR LEAVE TO SERVE NON-PARTY
16                                                      DOCUMENT PRESERVATION SUBPOENAS

17

18          I, Adam M. Apton, hereby declare as follows:
19          1.      I am a partner at the law firm of Levi & Korsinsky, LLP, counsel for Lead Plaintiff Glen
20   Littleton (“Plaintiff”), and a member in good standing of the bar of the State of California. I am licensed
21   to practice before this Court. On behalf of Plaintiff, I respectfully submit this declaration in support of his
22   motion for leave to serve non-party document preservation subpoenas.
23          2.      Attached hereto as Exhibit A is a true and correct copy of the Business Insider article titled
24   “Rapper Azealia Banks claims she was at Elon Musk's house over the weekend as he was ‘scrounging for
25   investors’” dated August 13, 2018.
26          3.      Attached hereto as Exhibit B is a true and correct copy of the Gizmodo article titled “Elon
27   Musk Responds to Azealia Banks' Claims of Ghosting, Tweeting, and LSD: I Don't Know Her.” dated
28   August 13, 2018.
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 1          4.      Attached hereto as Exhibit C is a true and correct copy of The New York Times article

 2   titled “Elon Musk Details ‘Excruciating’ Personal Toll of Tesla Turmoil” dated August 16, 2018.

 3          5.      Attached hereto as Exhibit D is a draft subpoena that, if leave is granted, would be served

 4   upon the non-parties identified in the motion.

 5          I declare under penalty of perjury that the foregoing facts are true and correct. Executed this 12th

 6   day of December, 2018.

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                                                           /s/ Adam M. Apton
 8                                                         Adam M. Apton
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                                       DECLARATION OF ADAM M. APTON
                                         In re Tesla, Inc. Securities Litigation
                                                    No. C-18-4865
